                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re:

NM HOLDINGS COMPANY LLC, et al.,                                 Case No. 03-48939
f/k/a VENTURE HOLDINGS COMPANY                                   (Jointly Administered)
LLC, et al. 1
                 DEBTORS. /                                     HON. Thomas J. Tucker


                            ORDER CONVERTING CHAPTER 11 CASES

        These jointly administered cases come before the Court upon the Court’s Order to show cause
why the Debtors’ chapter 11 cases should not be dismissed or converted to cases under chapter 7 of the
Bankruptcy Code, filed December 20, 2005 (Docket # 3719), with notice to parties in interest, and a
hearing having been held on January 11, 2006, and for the reasons stated on the record, and the Court
being otherwise fully advised in the premises;

        IT IS ORDERED that the Debtors’ Chapter 11 cases are hereby converted to cases under
chapter 7 of the Bankruptcy Code.

         IT IS FURTHER ORDERED, that under Rule 1019(5), Federal Rules of Bankruptcy
Procedure, the Debtors must file not later than 15 days after conversion of the cases, a schedule of unpaid
debts incurred after the commencement of the chapter 11 petitions and before conversion of the cases, and
not later than 30 days after the conversion of the cases, the Debtors must file a final report and account.

                                                           .




Entered: January 17, 2006
                                                                                 /s/ Thomas J. Tucker
                                                                             Thomas J. Tucker
                                                                             United States Bankruptcy Judge




         1
           The Debtors are NM Holdings Company LLC (f/k/a Venture Holdings Company LLC), NM Eco, Inc. (f/k/a
Vemco, Inc.), NM Industries Corporation (f/k/a Venture Industries Corporation), NM M old & Engineering Corporation
(f/k/a Venture M old & Engineering Corporation), NM Old Leasing Company (f/k/a Venture Leasing Company), NM Nemo
Leasing, Inc. (f/k/a/ Vemco Leasing, Inc.), NM Holdings Corporation (f/k/a Venture Holdings Corp orat ion), NM Service
Company (f/k/a Exp LLC (f/k/a Experience M anagement LLC), NM Europe, Inc. (F/k/a Venture Europe, Inc.) and NM EU
Corporation (f/k/a Venture EU Corporation), as debtors and debtors-in-possession.




  03-48939-tjt        Doc 3812        Filed 01/17/06           Entered 01/17/06 08:45:36            Page 1 of 1
